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 6             IN THE UNITED STATES DISTRICT COURT FOR THE

 7                     EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,

10                   Plaintiff,              CR. NO. S-06-0337 EJG

11             v.

12   PHILIP YU, et al.,

13                   Defendants.
                                     /
14
     UNITED STATES OF AMERICA,
15
                     Plaintiff,              CR. NO. S-06-0390 EJG
16
               v.
17
     ZHI HUE XUE, et al.,
18
                     Defendants.
19                                   /

20   UNITED STATES OF AMERICA,

21                   Plaintiff,              CR. NO. S-07-0025 WBS

22             v.
                                             RELATED CASE ORDER; ORDER
23   WEI JEI MA, et al.,                     SETTING STATUS CONFERENCE

24                  Defendants.
     _____________________________/
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             Case 2:06-cr-00390-WBS Document 50 Filed 02/23/07 Page 2 of 3


 1          Examination of the above-entitled actions reveals that they

 2   are related within the meaning of Eastern District Local Rule 83-

 3   123.    The actions arise out of the same law enforcement

 4   investigation and present common factual and legal issues.

 5   Accordingly, the assignment of the matters to the same judge is

 6   likely to effect a substantial saving of judicial effort and is

 7   also likely to be convenient for the parties.

 8          The parties should be aware that relating the cases under

 9   Local Rule 83-123 merely has the result that the actions are

10   assigned to the same judge; no consolidation of the actions is

11   effected.    Under the regular practice of this court related cases

12   are generally assigned to the judge to whom the first filed

13   action was assigned.

14          IT IS THEREFORE ORDERED that the action entitled Cr. No. S-

15   07-0025 WBS is hereby reassigned to Judge Edward J. Garcia for

16   all further proceedings.      All dates set in this case before Judge

17   Shubb are VACATED.     Henceforth, the caption on documents filed in

18   the reassigned case shall be shown as Cr. No. S-07-0025 EJG.

19          IT IS FURTHER ORDERED that the Clerk of the Court make

20   appropriate adjustment in the assignment of criminal cases to

21   compensate for this reassignment.

22          IT IS FURTHER ORDERED that a status conference in Cr. No. S-

23   07-0025 EJG will be held at 10:00 a.m., March 2, 2007.           A

24   proposed stipulation and order resetting the status conference to

25   any Friday in March at 10:00 a.m. may be submitted to the court

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 1   for consideration.   Any such stipulation and order shall set

 2   forth a basis for appropriate excludable time, must have the

 3   prior approval of the court’s staff interpreter, and should be

 4   presented to the court 72 (seventy-two) hours prior to the date

 5   of the scheduled status conference.

 6        IT IS SO ORDERED.

 7        February 21, 2007           /s/ Edward J. Garcia
                                      EDWARD J. GARCIA, JUDGE
 8                                    UNITED STATES DISTRICT COURT

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